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I’m Anna Lloyd, I’m 49 years old. I’m from a very small town in Southern Indiana,
filled with hard working men and women. We are simple people who love our country.

I still live in the same community that I was born into. Raised by a divorced mother who
raised three girls to know the value of God, Family, Country and to have a strong respect
for the rights of others.

I have a husband, two step daughters, along with their husbands, and 5 grandchildren,
number 6 due any time. The best times in life is when the house is full of family and you
can’t think straight because the grandchildren are so loud.

Politically I’m a registered Democrat, that is how I was raised. Me saying I’m Republican
sounds strange, not quite right. In the 2016 campaign season I found myself supporting
Trump. My husband and I both found it hard to believe because we didn’t like him at all
before. But he was standing up for what we believe in. We couldn’t argue with it. The
Democrats started working against him. We felt that when they worked against him they
worked against me, my family and my community.

When my friends and I decided to go to Washington D.C., our intent was to show support
for the President. Show that a lot of American people support him. I knew I’d be no more
than a body in the crowd, but 100,000 people like me shows support.

I honestly don’t remember when I found out we would be walking to the Capitol
Building, but that was all it was going to be. I even did some shopping on the way. I
didn’t know anyone would be going up those steps. When a 74 year old woman, we met
that day, went up, we followed to keep her safe. I made the decision to go up and I’m
responsible for that. No one made me go, I wasn’t forced. When she entered the building,
we went in to find her. Once again I could have chosen to stay outside.

We were within 15 feet of the door when we found her in a corner. I took a minute to
look around what could best be described as a wide hallway running along the exterior
wall. I was disgusted by the disrespect people were showing to the Capitol Building by
smoking pot in it.

I would have loved to have seen the artwork and statues that the Capitol Building holds.
To walk where some of the greatest people in our country's history has walked, but we
wanted out of there. My friend took a picture of us against an exterior wall and we got
out of there.

That day we didn’t break anything or see anything being broken. The people milling
around outside the Capitol Building near us were polite. I saw the side doors being
opened from the inside and assumed the door closest to me were also open because
people who worked in the Capital Building walked past us. They didn’t look nervous or
scared.
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But I now know that what I experienced that day, was not the case in other areas of the
Capitol Building. When we returned to our hotel and turned on the news we were
shocked. We didn’t know people had gotten violent, police were hurt and unfortunately
people had died.

I felt ashamed that something meant to show support for the President had turned violent.
This is not the way to prove any point. At first it didn’t dawn on me, but later I realized
that if every person like me, who wasn’t violent, was removed from that crowd, the ones
who were violent may have lost the nerve to do what they did. For that I am sorry and
take responsibility. It was never my intent to help empower people to act violently.

I knew I was wrong for stepping even one foot into the building, that day, but I was still
shocked when I was arrested. I did everything I could do to cooperate with the FBI. I did
what they asked me to do. I didn’t want them to worry that I would do anything to make
this difficult for them.

I openly and honestly told them everything I could recall from that day. I gave them my
phone freely to download what they needed. My phone was not locked so they didn’t
need a password to get in. If it had a password I would have willingly provided it.

I do have to say that the FBI agents and the staff at the Vigo County Jail all treated me
kindly and with respect, which made being arrested as good as it could be. I’m also
blessed to have an attorney who talks respectfully to me and doesn’t treat me like I’m a
bad person.

I’ve lived a sheltered life and truly haven’t experienced life the way many have. I don’t
live a pampered life. My husband and I have worked hard for everything that we have.
My lawyer has given me names of books and movies to help me see what life is like for
others in our country. I chose the movie whenever possible because it sinks in better. I’ve
read the book, Just Mercy, by Bryan Stevenson and the Bury my Heart at Wounded
Knee, by Dee Brown. I have viewed movies including Mudbound, Schindler’s List,
Slavery by Another name, and Burning Tulsa on the History Channel. I’ve learned that
even though we live in a wonderful country things still need to improve. People of all
colors should feel as safe as I do to walk down the street.

As an American I feel I’m very lucky to have been born in this country. As someone who
is part Native American I feel my roots strongly. I would never want to live anywhere
else. It’s not perfect but I believe it can and will get better for all people.

I take responsibility for my actions on January 6th. I will do what the court requires of me
to try to set things right. I will cooperate with my probation officer fully. In addition I
will pay restitution to the court as soon as possible.
